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 13   MONSTER ENERGY COMPANY
 14
 15
 16
                     IN THE UNITED STATES DISTRICT COURT
 17
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 18
 19                                      )   Case No. 5:17-CV-00548-CBM-RAO
      MONSTER ENERGY COMPANY,            )
 20   a Delaware corporation,            )   MONSTER ENERGY
                  Plaintiff,             )   COMPANY’S PROPOSED JURY
 21                                      )
                                         )   INSTRUCTIONS DISPUTED BY
 22         v.                           )   ISN
      INTEGRATED SUPPLY                  )
 23
      NETWORK, LLC, a Florida limited    )   Hon. Consuelo B. Marshall
      liability company,                 )
 24                                      )
                  Defendant.             )
 25                                      )
 26
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  1         Pursuant to the Court’s Order Granting Stipulation to Continue Trial Date
  2   (Dkt. No. 355), Plaintiff Monster Energy Company hereby submits and
  3   proposes that the Court use the attached jury instructions which Defendant
  4   Integrated Supply Network, LLC disputes.
  5
  6
  7                                Respectfully submitted,
                                   KNOBBE, MARTENS, OLSON & BEAR, LLP
  8
  9
 10   Dated: October 9, 2018       By: /s/ Joseph R. Re
 11                                   Joseph R. Re
                                      Steven J. Nataupsky
 12                                   Lynda J. Zadra-Symes
 13                                   Brian C. Horne
                                      Marko R. Zoretic
 14                                   Jason A. Champion
 15
                                   Attorneys for Plaintiff,
 16                                MONSTER ENERGY COMPANY
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  1                      INDEX OF JURY INSTRUCTIONS

  2   No.    Title                           Source                            Page
  3    1     Preliminary Instruction—        AUTHORITY: Ninth Circuit            1
             Trademark                       Manual of Model Civil Jury
  4                                          Instructions – Nos. 1.7 (clear
  5                                          and convincing evidence
                                             standard), 15.1, 15.3
  6                                          (modified), 15.8 (modified),
  7                                          15.9 (modified).

  8     6    Infringement—Elements and       Ninth Circuit Manual of             7
  9          Burden of Proof—Trademark       Model Civil Jury Instructions
                                             – No. 15.6
 10     7    Infringement—Elements and       Ninth Circuit Manual of             9
 11          Burden of Proof—Trade Dress     Model Civil Jury Instructions
                                             – No. 15.7
 12     8    Infringement—Elements—          Ninth Circuit Manual of            11
 13          Presumed Validity and           Model Civil Jury Instructions
             Ownership—Registered            – No. 15.8
 14          Trademark
 15     10   Acquisition of Rights in a      Institut National des              14
             Portion of a Composite          Appellations D’Origine v.
 16
             Trademark                       Vintners Int’l Co., 958 F.2d
 17                                          1574, 1582 (Fed. Cir. 1992);
                                             Application of Servel, Inc.,
 18
                                             181 F.2d 192, 196 (C.C.P.A.
 19                                          1950); In re Berg Elecs., Inc.,
                                             163 U.S.P.Q. 487, 487
 20
                                             (T.T.A.B. 1969); J.T.
 21                                          McCarthy, McCarthy on
                                             Trademarks & Unfair
 22
                                             Competition § 19:59 (5th ed.
 23                                          2017)
        11   Infringement—Elements—          Ninth Circuit Manual of            16
 24
             Validity—Unregistered           Model Civil Jury Instructions
 25          Mark—Distinctiveness            – No. 15.10
 26     12   Infringement—Elements—          Ninth Circuit Manual of            23
             Validity—Distinctiveness—       Model Civil Jury Instructions
 27          Secondary Meaning               – No. 15.11
 28     13   Infringement—Elements—          Ninth Circuit Manual of            27

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  1   No.    Title                            Source                        Page
             Validity—Trade Dress—Non-        Model Civil Jury Instructions
  2          Functionality Requirement        – No. 15.12
  3     14   Infringement—Likelihood of       Ninth Circuit Manual of         31
             Confusion—Factors—               Model Civil Jury Instructions
  4          Sleekcraft Test                  – No. 15.18; Dkt. No. 202 at
  5                                           5 n.3 (citing Rearden LLP v.
                                              Rearden Commerce, 683
  6                                           F.3d 1190, 1212 (9th Cir.
  7                                           2012); Waits v. Frito-Lay,
                                              978 F.2d 1093, 1110 (9th Cir.
  8                                           1992))
  9     15   Infringement—Likelihood of       Ninth Circuit Manual of         35
             Confusion—Factor—Strength        Model Civil Jury Instructions
 10          of Trademark or Trade Dress      – No. 15.19
 11     16   Defenses—Abandonment—            Ninth Circuit Manual of         40
             Affirmative Defense—             Model Civil Jury Instructions
 12          Defendant’s Burden of Proof      – No. 15.22 (modified)
 13
        18   Willful Infringement             DC Comics v. Towle, 802           42
 14                                           F.3d 1012, 1026 (9th Cir.
 15                                           2015); Fishman Transducers
                                              v. Paul, 684 F.3d 187, 192-93
 16
                                              (1st Cir. 2012); Coach, Inc. v.
 17                                           Celco Customs Services Co.,
                                              2014 WL 12573411 at *19-
 18
                                              *20 (C.D. Cal. June 5, 2014);
 19                                           Hydramedia Corp. v. Hydra
                                              Media Grp., Inc., 2008 WL
 20
                                              11336118, at *3 (C.D. Cal.
 21                                           Dec. 29, 2008), aff’d, 392 F.
                                              App’x 522 (9th Cir. 2010)
 22
        19   Trademark Damages—               Ninth Circuit Manual of           44
 23          Plaintiff’s Actual Damages       Model Civil Jury Instructions
                                              – No. 15.27; adidas Am., Inc.
 24
                                              v. Payless Shoesource, Inc.,
 25                                           2008 WL 4279812 at *12 (D.
                                              Or. Sept. 12, 2008); Dkt. No.
 26
                                              202 at 14 (“A reasonable
 27                                           royalty based on a
 28                                           hypothetical negotiation can

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  1   No.    Title                            Source                          Page
                                              be a measure of actual
  2                                           damages in a trademark
  3                                           infringement case.”)
        22   Reasonable Royalty—Possible      AIPLA Model Patent Jury           46
  4          Factors                          Instructions, 11.14 (revised to
  5                                           apply to trademark context);
                                              Ericsson, Inc. v. D-Link Sys.,
  6                                           Inc., No. 10-CV-0473, 2014
  7                                           U.S. App. LEXIS 22778 at
                                              *65-69 (Fed. Cir. 2014);
  8                                           Apple Inc. et al v. Motorola
  9                                           Inc., et al., 757 F.3d 1286
                                              (Fed. Cir. 2014);
 10                                           LaserDynamics, Inc. v.
 11                                           Quanta Computer, Inc. et al,
                                              694 F.3d 51, 60 (Fed. Cir.
 12                                           2012); Wordtech Sys., Inc. v.
 13                                           Integrated Networks
                                              Solutions, Inc., 609 F.3d
 14                                           1308, 1319 (Fed. Cir. 2010);
 15                                           ResQNet.com, Inc. v. Lansa,
                                              Inc., 594 F.3d 860, 869-73
 16                                           (Fed. Cir. 2010); Monsanto
 17                                           Co. v. McFarling, 488 F.3d
                                              973 (Fed. Cir. 2007);
 18                                           Maxwell v. J. Baker, Inc., 86
 19                                           F.3d 1098, 1108-10 (Fed. Cir.
                                              1996); TWM Mfg. Co. v.
 20                                           Dura Corp., 789 F.2d 895,
 21                                           898-900 (Fed. Cir. 1986);
                                              Georgia-Pacific Corp. v.
 22                                           United States Plywood Corp.,
 23                                           318 F. Supp. 1116 (S.D.N.Y.
                                              1970), modified and aff’d sub
 24                                           nom., Georgia Pacific Corp.
 25                                           v. United States Plywood
                                              Champion Papers, Inc., 446
 26
                                              F.2d 295 (2d Cir. 1971)
 27     23   Defendant’s Profits              Ninth Circuit Manual of           50
                                              Model Civil Jury Instructions
 28
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  1   No.    Title                         Source                         Page
                                           – No. 15.29
  2     24   Punitive Damages              Cal. Civ. Code § 3294; Ninth     52
  3                                        Circuit Manual of Model
                                           Civil Jury Instructions – Nos.
  4                                        1.7 and 5.5 (modified)
  5
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  1                         PRELIMINARY INSTRUCTIONS
  2                            JURY INSTRUCTION NO. 1
  3               (PRELIMINARY INSTRUCTION—TRADEMARK)
  4
  5         The plaintiff, Monster Energy, seeks damages against the defendant,
  6   Integrated Supply Network, whom I will call ISN, for infringement of its
  7   registered and unregistered trademarks and trade dress. ISN denies infringing
  8   the trademarks and trade dress.       ISN also contends that some of Monster
  9   Energy’s trademarks are invalid, and that Monster Energy’s trade dress is
 10   invalid. To help you understand the evidence that will be presented in this case,
 11   I will explain some of the legal terms you will hear during this trial.
 12
 13                      Definition and Function of a Trademark
 14         A trademark is a word, name, symbol, or device, or any combination of
 15   these items that indicates the source of goods. The owner of a trademark has the
 16   right to exclude others from using that trademark or a similar mark that is likely
 17   to cause confusion in the marketplace. The main function of a trademark is to
 18   identify and distinguish goods as the product of a particular manufacturer or
 19   merchant and to protect its goodwill.
 20
 21         A service mark is the same as a trademark, except that it is used to
 22   identify and distinguish a company’s services, rather than a company’s goods.
 23   For convenience, I will refer to both trademarks and service marks as
 24   “trademarks” or simply “marks.”
 25
 26                               How a Trademark Is Obtained
 27         A person acquires the right to exclude others from using the same mark or
 28   a similar mark that is likely to cause confusion in the marketplace by being the
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  1   first to use it in the marketplace, or by using it before the alleged infringer.
  2   Rights in a trademark are obtained only through commercial use of the mark.
  3
  4                               Trademark Registration
  5         After the owner of a trademark has obtained the right to exclude others
  6   from using the trademark, the owner may obtain a certificate of registration
  7   issued by the United States Patent and Trademark Office. Thereafter, when the
  8   owner brings an action for infringement, the owner may rely solely on the
  9   registration certificate to prove that the owner has the right to exclude others
 10   from using the trademark or a similar mark that is likely to cause confusion in
 11   the marketplace in connection with the type of goods specified in the certificate.
 12   These presumptions in favor of the owner created by the certificate of
 13   registration can be overcome or rebutted only by certain types of evidence that I
 14   will describe to you later as appropriate.
 15
 16                                 Unregistered Marks
 17         Not all trademarks are registered. Unregistered trademarks can be valid
 18   and provide the owner with the exclusive right to use that trademark.
 19         Only a valid trademark can be infringed.
 20
 21                                      Trade Dress
 22         Trade dress is the non-functional physical detail and design of a product
 23   or its packaging, which indicates the product’s source and distinguishes it from
 24   the products of others.
 25         Trade dress is the product’s total image and overall appearance, and may
 26   include features such as size, shape, color, color combinations, texture, or
 27   graphics. In other words, trade dress is the form in which a person presents a
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  1   product or service to the market, its manner of display. A registration is not
  2   necessary to have trade dress rights.
  3
  4                               Likelihood of Confusion
  5         To prove infringement of its trademarks and its trade dress, the plaintiff
  6   must prove, by a preponderance of the evidence, that the defendant, without the
  7   plaintiff’s consent, used in commerce a reproduction, copy, counterfeit or
  8   colorable imitation of plaintiff’s marks or trade dress in connection with the
  9   distribution or advertisement of goods, such that the defendant’s use of the
 10   marks or trade dress is likely to cause confusion as to the source of the goods. It
 11   is not necessary that the marks or trade dress used by the defendant be an exact
 12   copy of the plaintiff’s marks or trade dress. Rather, the plaintiff must
 13   demonstrate that, viewed in its entirety, the marks or trade dress used by the
 14   defendant is likely to cause confusion in the minds of reasonably prudent
 15   purchasers or users as to the source of the product in question.
 16
 17                  Monster Energy’s Claims and Burden of Proof
 18         In this case, Monster Energy contends that ISN has infringed Monster
 19   Energy’s registered and unregistered trademarks and trade dress. First, Monster
 20   Energy is asserting a number of registered trademarks that include the word
 21   “Monster” alongside other words or elements.             It is also asserting an
 22   unregistered trademark in the word “Monster.” I will refer to these trademarks
 23   as the Monster marks.      Second, Monster Energy is asserting a number of
 24   registered trademarks including the phrase “Unleash the Beast!”. I will refer to
 25   these trademarks as the Beast marks. Third, Monster Energy is asserting trade
 26   dress rights in the way it presents its products and marketing materials using the
 27   combination of the colors green and black with the word “Monster.” I will refer
 28   to this as the Trade Dress asserted by Monster Energy.
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   1          Monster Energy has the burden of proving by a preponderance of the
   2   evidence that it is the owner of a valid trademark or trade dress and that ISN
   3   infringed that trademark or trade dress. Preponderance of the evidence means
   4   that you must be persuaded by the evidence that it is more probably true than
   5   not true that ISN infringed Monster Energy’s trademarks or trade dress.
   6         One way for Monster Energy to prove it has a valid trademark is to show
   7   that the trademark is registered. An owner of a trademark may obtain a
   8   certificate of registration issued by the United States Patent and Trademark
   9   Office and may submit that certificate as evidence of the validity and
  10   protectability of the trademark and of the certificate holder’s ownership of the
  11   trademark covered by that certificate.
  12         Another way for Monster Energy to prove it has a valid trademark is to
  13   show that the trademark acts as a trademark in that it identifies a particular
  14   source of the goods or services at issue.
  15
  16                        ISN’s Defenses and Burden of Proof
  17         ISN contends that some of Monster Energy’s trademarks and trade dress
  18   are invalid. In addition, ISN contends that Monster Energy abandoned any
  19   rights in the word “Monster.”            ISN has the burden of proving by a
  20   preponderance of the evidence that the challenged registered trademarks are
  21   invalid. Preponderance of the evidence means that you must be persuaded by
  22   the evidence that it is more probably true than not true that the challenged
  23   trademarks are invalid or abandoned. ISN bears the burden of proving by clear
  24   and convincing evidence that the unregistered “Monster” trademark has been
  25   abandoned. Clear and convincing evidence is evidence that leaves you with a
  26   firm belief or conviction that it is highly probable that the factual contentions of
  27   the claim or defense are true. This is a higher standard of proof than proof by a
  28
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   1   preponderance of the evidence, but it does not require proof beyond a
   2   reasonable doubt.
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – Nos.
   2   1.7 (clear and convincing evidence standard), 15.1, 15.3 (modified), 15.8
   3   (modified), 15.9 (modified)
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   1       INSTRUCTIONS AFTER EVIDENCE BUT BEFORE CLOSING
                             ARGUMENT
   2
   3                           JURY INSTRUCTION NO. 6
            (INFRINGEMENT—ELEMENTS AND BURDEN OF PROOF—
   4
                                      TRADEMARK)
   5
   6
             On Monster Energy’s claims for trademark infringement, Monster Energy
   7
       has the burden of proving each of the following elements by a preponderance of
   8
       the evidence:
   9
  10
             1. That Monster Energy’s trademarks are valid, protectable trademarks;
  11
  12
             2. That Monster Energy owns these trademarks; and
  13
  14
             3. That ISN used these trademarks or a similar trademark without the
  15
             consent of Monster Energy in a manner that is likely to cause confusion
  16
             among ordinary consumers as to the source, sponsorship, affiliation, or
  17
             approval of the goods.
  18
  19
             If you find that each of the elements on which Monster Energy has the
  20
       burden of proof has been proved for the Monster trademarks, you should answer
  21
       Questions # 1 and 2 on the Verdict Form for Monster Energy. If you find that
  22
       each of the elements on which Monster Energy has the burden of proof has been
  23
       proved for the Beast trademarks, you should answer Question # 4 on the Verdict
  24
       Form for Monster Energy. If, on the other hand, Monster Energy has failed to
  25
       prove any of these elements for the Monster trademarks or the Beast trademarks,
  26
       your answer should be for ISN with respect to the applicable trademarks.
  27
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
   2   15.6.
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   1                          JURY INSTRUCTION NO. 7
   2   (INFRINGEMENT—ELEMENTS AND BURDEN OF PROOF—TRADE
   3                                      DRESS)
   4
   5         On Monster Energy’s claim for trade dress infringement, Monster Energy
   6   has the burden of proving by a preponderance of the evidence each of the
   7   following elements:
   8
   9         1. That the claimed Trade Dress, including the combination of the colors
  10            green and black with the word “Monster,” is distinctive;
  11
  12         2. That Monster Energy owns this Trade Dress;
  13
  14         3. That the Trade Dress asserted by Monster Energy is nonfunctional;
  15            and
  16
  17         4. That ISN used trade dress similar to the Trade Dress asserted by
  18            Monster Energy without the consent of Monster Energy in a manner
  19            that is likely to cause confusion among ordinary consumers as to the
  20            source, sponsorship, affiliation, or approval of ISN’s goods.
  21
  22         If you find that each of the elements on which Monster Energy has the
  23   burden of proof has been proved, you should answer Question #5 on the Verdict
  24   Form for Monster Energy. If, on the other hand, Monster Energy has failed to
  25   prove any of these elements, you should answer Question #5 for ISN.
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
   2   15.7.
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   1                            JURY INSTRUCTION NO. 8
   2       (INFRINGEMENT—ELEMENTS—PRESUMED VALIDITY AND
   3                  OWNERSHIP—REGISTERED TRADEMARK)
   4
   5          I gave you instruction number 6 that requires Monster Energy to prove by
   6   a preponderance of the evidence that its trademarks are valid and protectable
   7   and that Monster Energy owns the trademarks. A valid trademark is a word,
   8   name, symbol, device, or any combination of these, that indicates the source of
   9   goods or services and distinguishes those goods or services from the goods or
  10   services of others. A trademark becomes protectable after it is used in
  11   commerce.
  12
  13          One way for Monster Energy to prove trademark validity is to show that
  14   the trademark is registered. An owner of a trademark may obtain a certificate of
  15   registration issued by the United States Patent and Trademark Office and may
  16   submit that certificate as evidence of the validity and protectability of the
  17   trademark and of the certificate holder’s ownership of the trademark covered by
  18   that certificate.
  19
  20          Exhibits 1000A through 1013A, 1023A, 1034A through 1037A, and
  21   1043A are certificates of registration from the United States Patent and
  22   Trademark Office. They were submitted by Monster Energy as proof of the
  23   validity of the trademarks and that Monster Energy owns the trademarks.
  24
  25          The facts recited in these certificates are that Monster Energy owns valid
  26   trademark rights in each of the trademarks listed in the registrations. ISN alleges
  27   that one certificate, namely Exhibit 1000A for “MONSTER ENERGY,” cannot
  28   be considered proof of validity of the trademark because the trademark is
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   1   descriptive of . . . [ISN has never argued that the trademark describes the
   2   services set forth in this certificate as explained in Monster’s Trial Brief on
   3   pages 8-9].
   4
   5         Unless ISN proves by a preponderance of the evidence that the
   6   MONSTER ENERGY trademark describes the goods in the certificate of
   7   registration, you must consider that trademark to be conclusively proved as
   8   valid and owned by Monster Energy. However, if ISN shows that the
   9   MONSTER ENERGY trademark describes [the goods in the certificate of
  10   registration by a preponderance of the evidence (see above)], then the facts
  11   stated in Exhibit 1000A as to Monster’s ownership and validity of the
  12   MONSTER ENERGY trademark are no longer conclusively presumed to be
  13   correct. You should then consider whether all of the evidence admitted in this
  14   case, in addition to this certificate of registration, shows by a preponderance of
  15   the evidence that the trademark is valid and owned by Monster Energy, as I
  16   explain in Instruction 6.
  17
  18         In this case, there is no dispute that Exhibits 1001A through 1004A,
  19   1006A, 1009A through 1013A, 1034A, and 1037A are registrations that are
  20   “incontestable” under the trademark laws. This means that Monster Energy’s
  21   registrations of these trademarks are conclusive evidence of Monster Energy’s
  22   ownership of these trademarks and that the trademarks are valid and protectable.
  23   I instruct you that for purposes of Instruction 6, you must find that Monster
  24   Energy owns these trademarks and that these trademarks are valid and
  25   protectable.
  26
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
   2   15.8.
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   1                         JURY INSTRUCTION NO. 10
   2      (ACQUISITION OF RIGHTS IN A PORTION OF A COMPOSITE
   3                                  TRADEMARK)
   4
   5         A trademark owner may acquire rights in a portion of a larger or
   6   composite trademark under some circumstances. In this case, Monster Energy
   7   contends that it has acquired trademark rights in the word “Monster” by using
   8   other trademarks that include the word “Monster,” such as “Monster Energy®”
   9   “Monster Unleaded®” and “Ubermonster®”. To prove that it has rights in the
  10   word “Monster,” Monster Energy must show by a preponderance of the
  11   evidence that the word “Monster” creates a separate commercial impression so
  12   that consumers identify the word “Monster” as an indicator of the source of
  13   Monster Energy’s goods. That is, the word “Monster” functions as one of
  14   Monster Energy’s trademarks.
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   1   AUTHORITY: Institut National des Appellations D’Origine v. Vintners Int’l
   2   Co., 958 F.2d 1574, 1582 (Fed. Cir. 1992); Application of Servel, Inc., 181 F.2d
   3   192, 196 (C.C.P.A. 1950); In re Berg Elecs., Inc., 163 U.S.P.Q. 487, 487
   4   (T.T.A.B. 1969); J.T. McCarthy, McCarthy on Trademarks & Unfair
   5   Competition § 19:59 (5th ed. 2017).
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   1                             JURY INSTRUCTION NO. 11
   2      (INFRINGEMENT—ELEMENTS—VALIDITY—UNREGISTERED
   3                             MARK—DISTINCTIVENESS)
   4
   5                       Strength as a Likelihood of Confusion Factor
   6
   7         How distinctively a trademark or trade dress indicates that a good comes
   8   from a particular source is an important factor to consider in assessing its
   9   validity. As I will discuss later, it is also an important factor in determining
  10   whether ISN has infringed Monster Energy’s trademarks or trade dress.
  11
  12         Monster Energy asserts that the word “Monster” is a valid and protectable
  13   trademark for its goods and services, and that the Trade Dress asserted by
  14   Monster Energy is a valid and protectable trade dress for its goods and services.
  15   Monster Energy contends that ISN’s use of the words “Monster” and “Monster
  16   Mobile” in connection with ISN’s products infringes Monster Energy’s
  17   “Monster” trademark and is likely to cause confusion about the origin of goods
  18   associated with that trademark. Similarly, Monster Energy contends that ISN’s
  19   use of the words “Monster” and “Monster Mobile” in combination with the
  20   colors green and black infringes the Trade Dress asserted by Monster Energy
  21   and is likely to cause confusion about the origin of the goods associated with
  22   that trade dress.
  23
  24         In order to determine if Monster Energy has met its burden of showing
  25   that its “Monster” trademark is a valid trademark, or that the Trade Dress
  26   asserted by Monster Energy is a valid trade dress, you should classify it on the
  27   spectrum of distinctiveness that I will explain in this instruction.
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   1         An inherently distinctive trademark or trade dress is a word, symbol or
   2   device, or combination of them, which intrinsically identifies a particular source
   3   of a good or service in the market. The law assumes that an inherently
   4   distinctive trademark or trade dress is one that almost automatically tells a
   5   consumer that it refers to a brand or a source for a product, and that consumers
   6   will be predisposed to equate the trademark with the source of a product.
   7
   8                        Spectrum of Marks and Trade Dress
   9
  10         Trademark law provides great protection to distinctive or strong
  11   trademarks and trade dress. Conversely, trademarks and trade dress that are not
  12   as distinctive or strong are called “weak” trademarks and trade dress, and they
  13   receive less protection from infringing uses. Trademarks and trade dress that are
  14   not distinctive are not entitled to any trademark protection. For deciding
  15   trademark and trade dress protectability, you must consider whether a trademark
  16   or trade dress is inherently distinctive. Trademarks and trade dress are grouped
  17   into four categories according to their relative strength or distinctiveness. These
  18   four categories are, in order of strength or distinctiveness: arbitrary (which is
  19   inherently distinctive), suggestive (which also is inherently distinctive),
  20   descriptive (which is protected only if it acquires in consumers’ minds a
  21   “secondary meaning” which I explain in Instruction 12, and generic names
  22   (which are entitled to no protection).
  23
  24         Arbitrary Trademarks and Trade Dress. The first category of
  25   “inherently distinctive” trademarks and trade dress is arbitrary trademarks and
  26   trade dress. They are considered strong marks and are clearly protectable. They
  27   involve the arbitrary, fanciful or fictitious use of a word or a trade dress to
  28   designate the source of a product. Such a trademark or trade dress in no way
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   1   describes or has any relevance to the particular product it is meant to identify. It
   2   may be a common word used in an unfamiliar way. It may be a newly created
   3   (coined) word or parts of common words which are applied in a fanciful,
   4   fictitious or unfamiliar way, solely as a trademark or trade dress.
   5
   6         For instance, the common word “apple” became a strong and inherently
   7   distinctive trademark when used by a company to identify the personal
   8   computers that company sold. The company’s use of the word “apple” was
   9   arbitrary or fanciful because “apple” did not describe and was not related to
  10   what the computer was, its components, ingredients, quality, or characteristics.
  11   “Apple” was being used in an arbitrary way to designate for consumers that the
  12   computer comes from a particular manufacturer or source.
  13
  14          Suggestive Trademarks and Trade Dress. The next category is
  15   suggestive trademarks and trade dress. These trademarks and trade dress are
  16   also inherently distinctive but are considered weaker than arbitrary trademarks
  17   and trade dress. Unlike arbitrary trademarks and trade dress, which are in no
  18   way related to what the product is or its components, quality, or characteristics,
  19   suggestive trademarks and trade dress imply some characteristic or quality of
  20   the product to which they are attached. If the consumer must use imagination or
  21   any type of multi-stage reasoning to understand the significance of the
  22   trademark or trade dress, then the trademark or trade dress does not describe the
  23   product’s features, but merely suggests them.
  24
  25         A suggestive use of a word involves consumers associating the qualities
  26   the word suggests to the product to which the word is attached. For example,
  27   when “apple” is used not to indicate a certain company’s computers, but rather
  28   “Apple–A–Day” Vitamins, it is being used as a suggestive trademark. “Apple”
                                              -18-
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   1   does not describe what the vitamins are. However, consumers may come to
   2   associate the healthfulness of “an apple a day keeping the doctor away” with the
   3   supposed benefits of taking “Apple–A–Day” Vitamins.
   4
   5         Descriptive Trademarks and Trade Dress. The third category is
   6   descriptive trademarks and trade dress. Descriptive trademarks and trade dress
   7   directly identify or describe some aspect, characteristic, or quality of the product
   8   to which they are affixed in a straightforward way that requires no exercise of
   9   imagination to be understood.
  10
  11         For instance, the word “apple” is descriptive when used in the trademark
  12   “CranApple” to designate a cranberry-apple juice. It directly describes
  13   ingredients of the juice. Other common types of descriptive trademarks identify
  14   where a product comes from, or the name of the person who makes or sells the
  15   product. Thus, the words “Apple Valley Juice” affixed to cider from the
  16   California town of Apple Valley is a descriptive trademark because it
  17   geographically describes where the cider comes from. Similarly, a descriptive
  18   trademark can be the personal name of the person who makes or sells the
  19   product. So, if a farmer in Apple Valley, Judy Brown, sold her cider under the
  20   label “Judy’s Juice” (rather than CranApple) she is making a descriptive use of
  21   her personal name to indicate and describe who produced the apple cider and
  22   she is using her first name as a descriptive trademark.
  23
  24         Generic Names. The fourth category is entitled to no protection at all.
  25   They are called generic names and they refer to a general name of the product,
  26   as opposed to the plaintiff’s brand for that product. Generic names are part of
  27   our common language that we need to identify all such similar products. A
  28   generic name is a name for the product on which it appears.
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   1
   2         If the primary significance of the alleged mark or alleged trade dress is to
   3   name the type of product rather than the manufacturer or provider, the term is a
   4   generic name and cannot be a valid trademark or trade dress. If the majority of
   5   relevant consumers would understand the term or the trade dress to name the
   6   type of product rather than the manufacturer or provider, the primary
   7   significance of the term is generic and not entitled to protection as a trademark
   8   or trade dress.
   9
  10         The word “apple” can be used as a generic name and not be entitled to
  11   any trademark protection. This occurs when the word is used to identify the fruit
  12   from an apple tree.
  13
  14         The computer maker who uses the word “apple” as a trademark to
  15   identify its personal computer, or the vitamin maker who uses that word as a
  16   trademark on vitamins, has no claim for trademark infringement against the
  17   grocer who used that same word to indicate the fruit sold in a store. As used by
  18   the grocer, the word is generic and does not indicate any particular source of the
  19   product. As applied to the fruit, “apple” is simply a commonly used name for
  20   what is being sold.
  21
  22                          Mark Distinctiveness and Validity
  23
  24         If you decide that Monster Energy’s “Monster” trademark is arbitrary or
  25   suggestive, it is considered to be inherently distinctive. Similarly, if you decide
  26   that the Trade Dress asserted by Monster Energy is arbitrary or suggestive, it is
  27   considered to be inherently distinctive. An inherently distinctive trademark or
  28   trade dress is valid and protectable.
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   1
   2         On the other hand, if you determine that Monster Energy’s “Monster”
   3   trademark is generic, or that the Trade Dress asserted by Monster Energy is
   4   generic, then they cannot be distinctive and therefore are not valid or
   5   protectable.
   6
   7         If you decide that Monster Energy’s “Monster” trademark is descriptive,
   8   or that the Trade Dress asserted by Monster Energy is descriptive, you will not
   9   know if the trademark or trade dress is valid or invalid until you consider
  10   whether it has gained distinctiveness by the acquisition of secondary meaning,
  11   which I explain in Instruction 12.
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
   2   15.10.
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   1                            JURY INSTRUCTION NO. 12
   2   (INFRINGEMENT—ELEMENTS—VALIDITY—DISTINCTIVENESS—
   3                              SECONDARY MEANING)
   4
   5            If you determined in Instruction 11 that any of Monster Energy’s claimed
   6   trademarks or claimed trade dress are descriptive, you must consider the
   7   recognition that the mark has among prospective consumers in order to
   8   determine whether it is valid and protectable even though it is descriptive. This
   9   market recognition is called the “secondary meaning” of the trademark or trade
  10   dress.
  11
  12            A word or a trade dress acquires a secondary meaning when it has been
  13   used in such a way that its primary significance in the minds of the prospective
  14   consumers is not the product or service itself, but the identification of the
  15   product or service with a single source, regardless of whether consumers know
  16   who or what that source is. You must find that the preponderance of the
  17   evidence shows that a significant number of the consuming public associates the
  18   trademark or trade dress with a single source, in order to find that it has acquired
  19   secondary meaning.
  20
  21            When you are determining whether a trademark or trade dress has
  22   acquired a secondary meaning, consider the following factors:
  23
  24            (1)   Consumer Perception. Whether the people who purchase the
  25                  product or service that bears the claimed trademark or trade dress
  26                  associate the trademark or trade dress with Monster Energy;
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   1         (2)   Advertisement. To what degree and in what manner Monster
   2               Energy may have advertised under the claimed trademark or
   3               claimed trade dress;
   4
   5         (3)   Demonstrated Utility. Whether Monster Energy successfully used
   6               this trademark or trade dress to increase the sales of its products or
   7               services;
   8
   9         (4)   Extent of Use. The length of time and manner in which Monster
  10               Energy used the claimed trademark or claimed trade dress;
  11
  12         (5)   Exclusivity. Whether Monster Energy’s use of the claimed
  13               trademark or claimed trade dress was exclusive;
  14
  15         (6)   Copying. Whether ISN intentionally copied Monster Energy’s
  16               trademark or trade dress; and
  17
  18         (7)   Actual Confusion. Whether ISN’s use of a similar trademark or
  19               trade dress has led to actual confusion among a significant number
  20               of consumers.
  21
  22         The presence or absence of any particular factor should not necessarily
  23   resolve whether the trademark or trade dress has acquired secondary meaning.
  24
  25         Descriptive trademarks and trade dress are protectable only to the extent
  26   you find they acquired distinctiveness through secondary meaning by the public
  27   coming to associate the trademark or trade dress with a particular source.
  28   Descriptive trademarks and trade dress are entitled to protection only as broad
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   1   as the secondary meaning they have acquired, if any. If they have acquired no
   2   secondary meaning, they are entitled to no protection and cannot be considered
   3   a valid trademark or trade dress.
   4
   5         Monster Energy has the burden of proving that its “Monster” trademark
   6   and the Trade Dress asserted by Monster Energy have acquired a secondary
   7   meaning. ISN has the burden of proving that the registered trademarks in this
   8   case lack a secondary meaning.
   9
  10         The mere fact that Monster Energy is using a particular trademark or
  11   trade dress, or that Monster Energy began using it before ISN, does not mean
  12   that the trademark or trade dress has acquired secondary meaning. There is no
  13   particular length of time that a trademark or trade dress must be used before it
  14   acquires a secondary meaning.
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
   2   15.11.
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   1                           JURY INSTRUCTION NO. 13
   2      (INFRINGEMENT—ELEMENTS—VALIDITY—TRADE DRESS—
   3                   NON-FUNCTIONALITY REQUIREMENT)
   4
   5         A product feature is functional if it is essential to the product’s use or
   6   purpose, or if it affects the product’s cost or quality. It is non-functional if its
   7   shape or form makes no contribution to the product’s function or operation. If
   8   the feature is part of the actual benefit that consumers wish to purchase when
   9   they buy the product, the feature is functional. However, if the feature serves no
  10   purpose other than as an assurance that a particular entity made, sponsored or
  11   endorsed the product, it is non-functional.
  12
  13         To determine whether a product’s trade dress is functional, you should
  14   consider whether the trade dress as a whole is functional, that is whether the
  15   whole collection of elements making up the trade dress are essential to the
  16   product’s use or purpose. In this case, this means you must decide whether the
  17   combination of the colors green and black with the word “Monster” is essential
  18   to a product’s use or purpose.
  19
  20         You should assess the following factors in deciding if the product feature
  21   is functional or non-functional:
  22
  23         (1)    The Trade Dress’ Utilitarian Advantage. In considering this factor,
  24                you may examine whether the particular trade dress yields a
  25                utilitarian advantage over how the product might be without that
  26                trade dress. If there is a utilitarian advantage from having the
  27                particular trade dress, this would weigh in favor of finding the trade
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   1              dress is functional; if it seems merely ornamental, incidental, or
   2              arbitrary, it is more likely to be nonfunctional.
   3
   4        (2)   Availability of Alternate Trade Dress. In considering this factor,
   5              you may examine whether an alternate trade dress could have been
   6              used, so that competition in the market for that type of product
   7              would not be hindered by allowing only one person to exclusively
   8              use the particular trade dress.      For this to be answered in the
   9              affirmative, the alternatives must be more than merely theoretical
  10              or speculative. They must be commercially feasible. The
  11              unavailability of a sufficient number of alternate trade dresses
  12              weighs in favor of finding the trade dress is functional.
  13
  14        (3)   Advertising Utilitarian Advantage in the Trade Dress. In
  15              considering this factor, you may examine whether the particular
  16              trade dress has been touted in any advertising as a utilitarian
  17              advantage, explicitly or implicitly. If a seller advertises the
  18              utilitarian advantages of a particular trade dress, this weighs in
  19              favor of finding that trade dress is functional.
  20
  21        (4)   The Method of Manufacture. In considering this factor, you may
  22              examine whether the particular trade dress results from a relatively
  23              simple or inexpensive method of manufacture. If the trade dress is
  24              a result of a particularly economical production method, this
  25              weighs in favor of finding the trade dress is functional; if the
  26              feature is essential to the use or purpose of the device or affects its
  27              cost or quality, it is more likely functional.
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   1              Monster Energy has the burden of proving non-functionality of its
   2              trade dress by a preponderance of the evidence in order to show
   3              that the trade dress is valid and protected from infringement.
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
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   1                             JURY INSTRUCTION NO. 14
   2     (INFRINGEMENT—LIKELIHOOD OF CONFUSION—FACTORS—
   3                                SLEEKCRAFT TEST)
   4
   5         You must consider whether the defendant’s use of a trademark or trade
   6   dress is likely to cause confusion about the source or affiliation of Monster
   7   Energy’s or ISN’s goods or services. The likelihood of confusion factors are the
   8   same for determining both trademark and trade dress infringement.
   9
  10         I will suggest some factors you should consider in deciding this. The
  11   presence or absence of any particular factor that I suggest should not necessarily
  12   resolve whether there was a likelihood of confusion, because you must consider
  13   all relevant evidence in determining this. As you consider the likelihood of
  14   confusion you should examine the following:
  15
  16         (1)    Strength or Weakness of Monster Energy’s Marks or Trade Dress.
  17                The more the consuming public recognizes Monster Energy’s
  18                trademarks or trade dress as an indication of origin of Monster
  19                Energy’s goods, the more likely it is that consumers would be
  20                confused about the source or affiliation of ISN’s goods if ISN uses
  21                a similar trademark or similar trade dress.
  22
  23         (2)    ISN’s Use of the Mark or Trade Dress. If ISN and Monster Energy
  24                use their trademarks and trade dress on the same, related, or
  25                complementary kinds of goods there may be a greater likelihood of
  26                confusion about the source or affiliation of the goods than
  27                otherwise.
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   1        (3)   Similarity of Monster Energy’s and ISN’s Marks and Trade Dress.
   2              If the overall impression created by Monster Energy’s trademarks
   3              and trade dress in the marketplace is similar to that created by
   4              ISN’s trademarks and trade dress in appearance, sound, or
   5              meaning, there is a greater chance that consumers are likely to be
   6              confused by ISN’s use of its trademarks and trade dress.
   7              Similarities in appearance, sound or meaning weigh more heavily
   8              than differences in finding the marks are similar.
   9
  10        (4)   Actual Confusion. If use by ISN of Monster Energy’s trademarks
  11              or trade dress has led to instances of actual confusion, this strongly
  12              suggests a likelihood of confusion. However actual confusion is not
  13              required for a finding of likelihood of confusion. Even if actual
  14              confusion did not occur, ISN’s use of its trademarks or trade dress
  15              may still be likely to cause confusion. As you consider whether the
  16              trademarks or trade dress used by ISN creates for consumers a
  17              likelihood of confusion with Monster Energy’s trademarks or trade
  18              dress, you should weigh any instances of actual confusion against
  19              the opportunities for such confusion. If the instances of actual
  20              confusion have been relatively frequent, you may find that there
  21              has been substantial actual confusion. If, by contrast, there is a very
  22              large volume of sales, but only a few isolated instances of actual
  23              confusion you may find that there has not been substantial actual
  24              confusion.
  25
  26        (5)   ISN’s Intent. Knowing use by ISN of Monster Energy’s trademarks
  27              or trade dress to identify similar or related goods may strongly
  28              show an intent to derive benefit from the reputation of Monster
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   1              Energy’s trademarks or trade dress, suggesting an intent to cause a
   2              likelihood of confusion. On the other hand, even in the absence of
   3              proof that ISN acted knowingly, the use of Monster Energy’s
   4              trademarks or trade dress to identify similar or related goods may
   5              indicate a likelihood of confusion.
   6
   7        (6)   Marketing/Advertising Channels. If Monster Energy’s and ISN’s
   8              goods and services are likely to be sold in the same or similar
   9              stores or outlets, or advertised in similar media, this may increase
  10              the likelihood of confusion.
  11
  12        (7)   Consumer’s Degree of Care. The more sophisticated the potential
  13              buyers of the goods or the more costly the goods, the more careful
  14              and discriminating the reasonably prudent purchaser exercising
  15              ordinary caution may be. They may be less likely to be confused by
  16              similarities in Monster Energy’s and ISN’s trademarks and trade
  17              dress.
  18
  19        (8)   Product Line Expansion. When the parties’ products differ, you
  20              may consider how likely Monster Energy is to begin selling the
  21              products for which ISN is using Monster Energy’s trademarks or
  22              trade dress. If there is a strong possibility of expanding into the
  23              other party’s market, there is a greater likelihood of confusion.
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
   2   15.18; Dkt. No. 202 at 5 n.3 (citing Rearden LLP v. Rearden Commerce, 683
   3   F.3d 1190, 1212 (9th Cir. 2012); Waits v. Frito-Lay, 978 F.2d 1093, 1110 (9th
   4   Cir. 1992)).
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   1                           JURY INSTRUCTION NO. 15
   2            (INFRINGEMENT—LIKELIHOOD OF CONFUSION—
   3       FACTOR—STRENGTH OF TRADEMARK OR TRADE DRESS)
   4
   5           Strength as a Factor for Evaluating Likelihood of Confusion
   6
   7         How strongly Monster Energy’s trademarks or trade dress indicate that
   8   the goods or services come from a particular source is an important factor to
   9   consider in determining whether the trademarks or trade dress used by ISN are
  10   likely to create confusion with Monster Energy’s trademarks and trade dress.
  11
  12         Monster Energy asserts that its Monster marks and Beast marks are
  13   trademarks for its goods and/or services and that the Trade Dress asserted by
  14   Monster Energy is a trade dress for its goods and services. Monster Energy
  15   contends that ISN’s use of the words “Monster” and “Monster Mobile” in
  16   connection with ISN’s products, such as, for example, T-shirts, sweatshirts,
  17   hats, belts, socks, gloves, water bottles, tumblers, coolers, refrigerators, bottle
  18   openers, back packs, bags, stickers, decals, speakers, lights, helmets, knives,
  19   tool boxes, tool carts, creepers, wrenches, screw drivers, impact wrenches,
  20   orbital sanders, thermometers, circuit testers, tire-pressure monitors, nuts, beef
  21   jerky, and candy infringes Monster Energy’s trademarks because the sale of
  22   such goods is likely to cause confusion. Monster Energy also contends that
  23   ISN’s use of the words “Monster” and “Monster Mobile” in combination with
  24   the colors green and black in connection with such products infringes the Trade
  25   Dress asserted by Monster Energy because such use is likely to cause confusion.
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   1                         The Strength of Marks or Trade Dress
   2
   3          The more distinctive and strong a trademark or trade dress is, the greater
   4   the scope of protection the law provides. The law measures trademark and trade
   5   dress strength by considering two prongs:
   6
   7          1.     Commercial Strength: This is the amount of marketplace
   8                 recognition of the trademark or trade dress; and
   9
  10          2.     Conceptual Strength: This is the placement of the trademark or
  11                 trade dress on the spectrum of marks.
  12
  13          Commercial Strength: What is “commercial strength?” Not all
  14   trademarks and trade dress are equally well known. Trademark and trade dress
  15   strength is somewhat like the renown of people. Only a few very famous people
  16   are widely known and recognized around the world. Most people are known and
  17   recognized only by a small circle of family and friends.
  18
  19          Some trademarks and trade dress are relatively “strong,” in the sense they
  20   are widely known and recognized. A few trademarks are in the clearly “famous”
  21   category. These “famous” marks are those like “Apple” for computers and
  22   mobile phones, “Google” for a search engine, “Coca-Cola” for beverages and
  23   “Toyota” for vehicles. Some trademarks and trade dress may be strong and well
  24   known only in a certain market niche such as mountain climbing gear, plumbing
  25   supplies, or commercial airplane electronics equipment, but relatively weak
  26   outside that field.
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   1         Conceptual Strength: What is “conceptual strength?” All trademarks
   2   and trade dress are grouped into two categories: either inherently distinctive or
   3   not inherently distinctive. If a trademark or trade dress is inherently distinctive it
   4   is immediately protected when first used. If it is not inherently distinctive, to
   5   become a legally protected mark, a designation must acquire distinctiveness in
   6   people’s minds by becoming known as an indication of source of goods or
   7   services. The law calls this “secondary meaning,” as I explained in Instruction
   8   12.
   9
  10         For determining the conceptual strength of a trademark or trade dress,
  11   trademarks and trade dress are grouped on a spectrum according to the nature of
  12   the mark. In the spectrum, there are three categories of trademarks and trade
  13   dress that the law regards as being inherently distinctive: coined, arbitrary and
  14   suggestive. Descriptive trademarks and trade dress are regarded as not being
  15   inherently distinctive and require a secondary meaning to become a valid
  16   trademark or trade dress.
  17
  18         Coined and arbitrary trademarks and trade dress are regarded as being
  19   relatively strong. A coined word mark is a word created solely to serve as a
  20   trademark. For example, “Clorox” for cleaning products and “Exxon” for
  21   gasoline are coined marks.
  22
  23         Arbitrary trademarks and trade dress in no way describe or suggest the
  24   nature of the goods or services they are used with. For example, “apple” is a
  25   common word, but it does not describe or suggest anything about the nature of
  26   “Apple” brand computers or smart phones. It is an arbitrary word when used as
  27   a mark on those products and is said to be conceptually strong as a mark.
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   1         Suggestive trademarks and trade dress are regarded as not being as
   2   conceptually strong as coined or arbitrary trademarks and trade dress.
   3   Suggestive trademarks and trade dress suggest some characteristic or quality of
   4   the goods or services with which they are used. If the consumer must use her
   5   imagination or think through a series of steps to understand what the trademark
   6   or trade dress is telling about the product, then the trademark or trade dress does
   7   not directly describe the product’s features, but merely suggests them. For
   8   example, the trademark “Tail Wagger” for dog food merely suggests that your
   9   dog will like the food. As another example, when “apple” is used in the mark
  10   “Apple-A-Day” for vitamins, it is being used as a suggestive trademark.
  11   “Apple” does not describe what the vitamins are. However, it suggests the
  12   healthfulness of “an apple a day keeping the doctor away” with the supposed
  13   benefits of taking “Apple-A-Day” vitamins.
  14
  15         Descriptive trademarks and trade dress are not inherently distinctive.
  16   These trademarks and trade dress directly describe some characteristic, or
  17   quality of the goods or services with which they are used in a straightforward
  18   way that requires no exercise of imagination. For instance, the word “apple” is
  19   descriptive when used in the trademark “CranApple” to designate a cranberry-
  20   apple juice. It directly describes one of ingredients of the juice.
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
   2   15.19.
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   1                           JURY INSTRUCTION NO. 16
   2       (DEFENSES—ABANDONMENT—AFFIRMATIVE DEFENSE—
   3                      DEFENDANT’S BURDEN OF PROOF)
   4
   5         The owner of a trademark cannot exclude others from using the
   6   trademark if it has been abandoned.
   7
   8         ISN contends that the trademark “MONSTER” has become unenforceable
   9   because Monster Energy abandoned it. ISN has the burden of proving
  10   abandonment by clear and convincing evidence.
  11
  12         The owner of a trademark abandons the right to exclusive use of the
  13   trademark when the owner discontinues its use in the ordinary course of trade,
  14   intending not to resume using it.
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
   2   15.22 (modified)
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   1                          JURY INSTRUCTION NO. 18
   2                          (WILLFUL INFRINGEMENT)
   3
   4         If you find that ISN infringed any of the Monster Energy’s trademarks or
   5   trade dress, you must also determine whether ISN acted willfully. Trademark
   6   infringement and trade dress infringement are considered willful if Monster
   7   Energy shows that ISN’s actions were willfully calculated to exploit the
   8   advantage of an established trademark or trade dress, or if Monster Energy
   9   shows that ISN recklessly disregarded Monster Energy’s trademark or trade
  10   dress rights. Monster Energy has the burden of proving willfulness by a
  11   preponderance of the evidence.
  12         Question #6 on the Verdict Form asks you to decide whether ISN
  13   willfully infringed Monster Energy’s trademarks or trade dress.
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   1   AUTHORITY: DC Comics v. Towle, 802 F.3d 1012, 1026 (9th Cir. 2015);
   2   Fishman Transducers v. Paul, 684 F.3d 187, 192-93 (1st Cir. 2012); Coach, Inc.
   3   v. Celco Customs Services Co., 2014 WL 12573411 at *19-*20 (C.D. Cal. June
   4   5, 2014); Hydramedia Corp. v. Hydra Media Grp., Inc., 2008 WL 11336118, at
   5   *3 (C.D. Cal. Dec. 29, 2008), aff’d, 392 F. App’x 522 (9th Cir. 2010).
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   1                          JURY INSTRUCTION NO. 19
   2      (TRADEMARK DAMAGES—PLAINTIFF’S ACTUAL DAMAGES)
   3
   4         If you find for Monster Energy on its claim for infringement of registered
   5   or unregistered trademarks, or its claim for infringement of the Trade Dress
   6   asserted by Monster Energy, you must determine Monster Energy’s actual
   7   damages.
   8
   9         Monster Energy has the burden of proving actual damages by a
  10   preponderance of the evidence. Damages means the amount of money which
  11   will reasonably and fairly compensate Monster Energy for any injury you find
  12   was caused by ISN’s infringement of Monster Energy’s trademarks or trade
  13   dress. Monster Energy seeks actual damages in the form of a reasonable royalty
  14   award.
  15
  16         You should consider the following:
  17
  18         (1)   The injury to Monster Energy’s reputation;
  19
  20         (2)   The injury to Monster Energy’s goodwill, including injury to
  21               Monster Energy’s general business reputation; and
  22
  23         (3)   The royalties that Monster Energy would have earned if ISN had
  24               taken a license before it began infringement.
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
   2   15.27; adidas Am., Inc. v. Payless Shoesource, Inc., 2008 WL 4279812 at *12
   3   (D. Or. Sept. 12, 2008); Dkt. No. 202 at 14 (“A reasonable royalty based on a
   4   hypothetical negotiation can be a measure of actual damages in a trademark
   5   infringement case.”).
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   1                          JURY INSTRUCTION NO. 22

   2             (REASONABLE ROYALTY—POSSIBLE FACTORS)

   3         In determining the amount of a reasonable royalty, you may, but need not,

   4   consider evidence on any of the following factors, in addition to any other

   5   evidence presented by the parties on the economic value of the trademark:

   6            1. Any royalties received by the licensor for the licensing of the
   7               trademark, proving or tending to prove an established royalty.
   8
   9            2. The rates paid by ISN to license other trademarks comparable to

  10               the trademark.

  11
                3. The nature and scope of the license, as exclusive or non-exclusive,
  12
                   or as restricted or non-restricted in terms of its territory or with
  13
                   respect to whom the manufactured product may be sold.
  14
  15            4. The licensor’s established policy and marketing program to

  16               maintain its right to exclude others from using the trademark by not

  17               licensing others to use the trademark, or by granting licenses under

  18               special conditions designed to preserve that exclusivity.

  19
                5. The commercial relationship between the licensor and the licensee,
  20
                   such as whether or not they are competitors in the same territory in
  21
                   the same line of business.
  22
  23            6. The effect of selling products bearing the trademark in promoting
  24               sales of other products of the licensee; the existing value of the
  25               trademark to the licensor as a generator of sales of its non-
  26               trademarked items; and the extent of such collateral sales.
  27
                7. The term of the license.
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   1           8. The established profitability of the product bearing the trademark;

   2              its commercial success; and its current popularity.

   3           9. The nature of the trademark; and the benefits to those who have
   4              used the trademark.
   5
   6           10. The extent to which ISN has made use of the trademark; and any

   7              evidence that shows the value of that use.

   8           11. The portion of the profit or of the selling price that may be
   9              customary in the particular business or in comparable businesses to
  10              allow for the use of the trademark or analogous trademarks.
  11
  12           12. The portion of the profit that arises from the trademark itself as

  13              opposed to profit arising from non-trademarked features, such as

  14              the manufacturing process, business risks, or significant features or

  15              improvements added by the accused infringer.

  16
               13. The opinion testimony of qualified experts.
  17
  18           14. The amount that a licensor and a licensee (such as ISN) would have

  19              agreed upon (at the time the infringement began) if both sides had

  20              been reasonably and voluntarily trying to reach an agreement; that
  21              is, the amount which a prudent licensee—who desired, as a
  22              business proposition, to obtain a license to use the trademark—
  23              would have been willing to pay as a royalty and yet be able to
  24              make a reasonable profit and which amount would have been
  25              acceptable by a trademark owner who was willing to grant a
  26              license.
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   1           15. Any other economic factor that a normally prudent business person

   2              would, under similar circumstances, take into consideration in

   3              negotiating the hypothetical license.

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   1   AUTHORITY: AIPLA Model Patent Jury Instructions, 11.14 (revised to apply
   2   to trademark context); Ericsson, Inc. v. D-Link Sys., Inc., No. 10-CV-0473,
   3   2014 U.S. App. LEXIS 22778 at *65-69 (Fed. Cir. 2014); Apple Inc. et al v.
   4   Motorola Inc., et al., 757 F.3d 1286 (Fed. Cir. 2014); LaserDynamics, Inc. v.
   5   Quanta Computer, Inc. et al, 694 F.3d 51, 60 (Fed. Cir. 2012); Wordtech Sys.,
   6   Inc. v. Integrated Networks Solutions, Inc., 609 F.3d 1308, 1319 (Fed. Cir.
   7   2010); ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860, 869-73 (Fed. Cir. 2010);
   8   Monsanto Co. v. McFarling, 488 F.3d 973 (Fed. Cir. 2007); Maxwell v. J.
   9   Baker, Inc., 86 F.3d 1098, 1108-10 (Fed. Cir. 1996); TWM Mfg. Co. v. Dura
  10   Corp., 789 F.2d 895, 898-900 (Fed. Cir. 1986); Georgia-Pacific Corp. v. United
  11   States Plywood Corp., 318 F. Supp. 1116 (S.D.N.Y. 1970), modified and aff’d
  12   sub nom., Georgia Pacific Corp. v. United States Plywood Champion Papers,
  13   Inc., 446 F.2d 295 (2d Cir. 1971).
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   1                           JURY INSTRUCTION NO. 23
   2                            (DEFENDANT’S PROFITS)
   3
   4         You are being asked to determine any profits earned by ISN that are
   5   attributable to the infringement, which Monster Energy proves by a
   6   preponderance of the evidence.
   7
   8         Profit is determined by deducting all expenses from gross revenue.
   9
  10         Gross revenue is all of ISN’s receipts from using the trademark or trade
  11   dress in the sale of a product. Monster Energy has the burden of proving ISN’s
  12   gross revenue by a preponderance of the evidence.
  13
  14         Expenses are all operating, overhead, and production costs incurred in
  15   producing the gross revenue. ISN has the burden of proving the expenses and
  16   the portion of the profit attributable to factors other than use of the infringed
  17   trademark by a preponderance of the evidence.
  18
  19         Unless you find that a portion of the profit from the sale of ISN’s
  20   products using the trademark or trade dress is attributable to factors other than
  21   use of the trademark, you should find that the total profit is attributable to the
  22   infringement.
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   1   AUTHORITY: Ninth Circuit Manual of Model Civil Jury Instructions – No.
   2   15.29.
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   1                             JURY INSTRUCTION NO. 24
   2                               (PUNITIVE DAMAGES)
   3            The purposes of punitive damages are to punish a wrongdoer for the
   4   conduct that harmed the plaintiff and to discourage similar conduct in the future.
   5   You may award punitive damages against ISN only if Monster Energy proves
   6   by clear and convincing evidence that ISN infringed with malice, oppression, or
   7   fraud.
   8            “Malice” means conduct which is intended by ISN to cause harm to
   9   Monster Energy or despicable conduct which is carried on by ISN with a willful
  10   and conscious disregard of the rights or safety of other.
  11            “Oppression” means despicable conduct that subjects a person to cruel
  12   and unjust hardship in conscious disregard of that person’s rights.
  13            “Fraud” means an intentional misrepresentation, deceit, or concealment of
  14   a material fact known to ISN with the intention on the part of ISN of thereby
  15   depriving Monster Energy of property or legal rights or otherwise causing harm.
  16            When a party has the burden of proving any claim or defense by clear and
  17   convincing evidence, it means that the party must present evidence that leaves
  18   you with a firm belief or conviction that it is highly probable that the factual
  19   contentions of the claim or defense are true. This is a higher standard of proof
  20   than proof by a preponderance of the evidence, but it does not require proof
  21   beyond a reasonable doubt.
  22            If you find that Monster Energy has proved by clear and convincing
  23   evidence that ISN infringed with malice, oppression, or fraud toward Monster
  24   Energy, then you should answer Question #9 in favor of Monster. Otherwise,
  25   you should answer Question #9 in favor of ISN.
  26            If you find that punitive damages are appropriate, you must use reason in
  27   setting the amount. Punitive damages, if any, should be in an amount sufficient
  28   to fulfill their purposes but should not reflect bias, prejudice or sympathy
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   1   toward any party. In considering the amount of any punitive damages, consider
   2   the degree of reprehensibility of ISN’s conduct.   If you find that punitive
   3   damages are appropriate, you should enter the amount in response to Question
   4   #10.
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   1   AUTHORITY: Cal. Civ. Code § 3294; Ninth Circuit Manual of Model Civil
   2   Jury Instructions – Nos. 1.7 and 5.5 (modified).
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